                      Case 12-29246
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In re Robert John Benditzky                                                                                ,                  Case No. 12-29246
                         Debtor(s)                                                                                                                               (if known)


                                                      SCHEDULE B-PERSONAL PROPERTY
                                                                  Amended 09/10/2012
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                   N             Description and Location of Property                                                   Value
                                                                                                                                                of Debtor's Interest,
                                                  o                                                                          Husband--H         in Property Without
                                                                                                                                 Wife--W           Deducting any
                                                  n                                                                                              Secured Claim or
                                                                                                                                Joint--J
                                                  e                                                                        Community--C              Exemption


1. Cash on hand.                                      Cash on hand                                                                      J                    $250.00
                                                      Location: In debtor's possession


2. Checking, savings or other financial               Checking account - Bank Financial                                                 H                    $150.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building       Location: In bank's possession.
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,       X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                   Miscellaneous household goods and furniture                                       J                    $500.00
   including audio, video, and computer
   equipment.                                         Location: In debtor's possession


5. Books, pictures and other art objects,             Miscellaneous used books and family pictures                                      J                    $250.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or             Location: In debtor's possession
   collectibles.



6. Wearing apparel.                                   Miscellaneous men's clothing                                                      H                    $500.00
                                                      Location: In debtor's possession


7. Furs and jewelry.                                  Wedding ring                                                                      H                    $500.00
                                                      Location: In debtor's possession


8. Firearms and sports, photographic, and         X
   other hobby equipment.

9. Interests in insurance policies. Name              Robert Benditzky ILIT                                                             H                $46,825.00
   insurance company of each policy and
   itemize surrender or refund value of each.         Location: In debtor's possession




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In re Robert John Benditzky                                                                             ,     Case No. 12-29246
                         Debtor(s)                                                                                                           (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                   Amended 09/10/2012
                                                                          (Continuation Sheet)

                                                                                                                                 Current
               Type of Property                    N             Description and Location of Property                             Value
                                                                                                                            of Debtor's Interest,
                                                   o                                                          Husband--H    in Property Without
                                                                                                                  Wife--W      Deducting any
                                                   n                                                                         Secured Claim or
                                                                                                                 Joint--J
                                                   e                                                        Community--C         Exemption

10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other           IRA - Citibank C3007397                                         H         $116,099.00
    pension or profit sharing plans. Give
    particulars.

                                                       Roth IRA - Citibank C3008593                                    H         $104,993.00

                                                       Location: With broker.


13. Stock and interests in incorporated and            100% Membership interest in Envision Equity                     H                     $0.00
    unincorporated businesses. Itemize.
                                                       Group, LLC, which owned 1210 Redwood

                                                       Fractional Real Estate Interests                                                      $0.00
                                                       Debtor owns a 1/3 direct or indirect
                                                       interest in the following (which may not be
                                                       validly organized entities):Trident Equities
                                                       Series LLC (and all cells); Capital B
                                                       Holdings Corporation; and Various land
                                                       trusts
                                                       See Exhibit B 13 for a detailed listing of
                                                       entities and properties such entities owned.
                                                       Location: In debtor's possession


                                                       Global Wind, LLC f/k/a IWT, LLC                                 H                     $0.00
                                                       membership interest unknown
                                                       Wind power company that is unable to operate
                                                       due to a lack of capital
                                                       Location: In debtor's possession


                                                       49.5% memebership interest in Helen                             H                     $0.00
                                                       Benditzky, LLC, which is the
                                                       general partner of Helen Benditzky Family
                                                       Limited Partnership,and owns 1% of the Helen
                                                       Benditzky Family Limited Partnership

                                                       Location: In debtor's possession



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In re Robert John Benditzky                                                                               ,     Case No. 12-29246
                         Debtor(s)                                                                                                             (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                     Amended 09/10/2012
                                                                            (Continuation Sheet)

                                                                                                                                   Current
               Type of Property                    N               Description and Location of Property                             Value
                                                                                                                              of Debtor's Interest,
                                                   o                                                            Husband--H    in Property Without
                                                                                                                    Wife--W      Deducting any
                                                   n                                                                           Secured Claim or
                                                                                                                   Joint--J
                                                   e                                                          Community--C         Exemption




                                                       membership interest in JB Investments +                           H                     $0.00
                                                       Holdings, LLC
                                                       No assets, no operations. Previously owned
                                                       2 properties which have been foreclosed
                                                       property foreclosed
                                                       Location: In debtor's possession

14. Interests in partnerships or joint ventures.       limited partnership interest in Helen                             H           $80,000.00
    Itemize.
                                                       Benditzky FLP

                                                       Location:    In debtor's possession


15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                               Loan to Rob Baron                                                 H                     $0.00
                                                       Amount of Loan: $70,000.00
                                                       Uncollectable
                                                       Location: In debtor's possession


17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor          X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,       Beneficiary of Robert J Benditzky Trust,                          H                     $0.00
    and rights or powers exercisable for the
    benefit of the debtor other than those             which owns the properties listed on Exhibit
    listed in Schedule of Real Property.               B19 attached
                                                       Location: In debtor's possession


20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.

21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.




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In re Robert John Benditzky                                                                         ,               Case No. 12-29246
                         Debtor(s)                                                                                                                    (if known)


                                                   SCHEDULE B-PERSONAL PROPERTY
                                                               Amended 09/10/2012
                                                                      (Continuation Sheet)

                                                                                                                                          Current
                 Type of Property              N             Description and Location of Property                                          Value
                                                                                                                                     of Debtor's Interest,
                                               o                                                                   Husband--H        in Property Without
                                                                                                                       Wife--W          Deducting any
                                               n                                                                                      Secured Claim or
                                                                                                                      Joint--J
                                               e                                                                 Community--C             Exemption

24. Customer lists or other compilations       X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other        2000 Toyota Camry                                                         H                $4,500.00
    vehicles and accessories.
                                                   Location: In debtor's possession


26. Boats, motors, and accessories.            X

27. Aircraft and accessories.                  X

28. Office equipment, furnishings, and             Used computers, printer and office equipment                              H                    $500.00
    supplies.
                                                   Location: In debtor's possession


29. Machinery, fixtures, equipment and         X
    supplies used in business.

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page       4      of    4                                                                                     Total                        $355,067.00
                                                                                                                  (Report total also on Summary of Schedules.)
                                                                                                        Include amounts from any continuation sheets attached.
